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                UNITED STATES DISTRICT COURT FOR THE
                 EASTERN DISTRICT OF PENNSYLVANIA



Watson Laboratories, Inc., et al.,          CIVIL ACTION: 2:16-cv-05599

                Plaintiffs,

      v.

Federal Trade Commission,

             Defendant.

       NOTICE OF SUPPLEMENTAL AUTHORITY IN SUPPORT OF
               OPPOSITION TO MOTION TO DISMISS

       Watson Laboratories, Inc. and Allergan Finance, LLC (“Plaintiffs”), by and

through their undersigned counsel, submit this Notice of Supplemental Authority

in support of their opposition to the pending Motion to Dismiss filed by Defendant

Federal Trade Commission (“FTC”) (Dkt. No. 47).

       Plaintiffs previously informed the Court that Judge Orrick has stayed the

FTC’s action pending in the Northern District of California, captioned FTC v.

Allergan plc, et al., No. 17-cv-00312-WHO (N.D. Cal.). (See Plaintiffs’ Sur-Reply

in Opposition to Motion to Dismiss, Dkt. No. 52 at 2, 12.) Attached as Exhibit A

is Judge Orrick’s formal Order Granting Motion to Stay, Dkt. No. 64, FTC v.

Allergan plc, et al., No. 17-cv-00312-WHO (N.D. Cal. Apr. 5, 2017). There,

Judge Orrick found that “because there is no evidence that the Watson defendants
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are likely to enter into a similar reverse-payment settlement in the near future,

there is no current threat of harm to the public.” Id. at 2.

Dated: April 6, 2017                       Respectfully Submitted,

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                            ATTESTATION STATEMENT

      I, Terry M. Henry, the ECF User whose identification and password are

being used to file the foregoing Notice of Supplemental Authority in Support of

Opposition to Motion to Dismiss, attest under penalty of perjury that concurrence

in this filing has been obtained from all submitting counsel.


Dated: April 6, 2017                                /s/ Terry M. Henry
                                                        Terry M. Henry
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                         CERTIFICATE OF SERVICE
      I hereby certify that on this 6th day of April, 2017, this Notice of

Supplemental Authority in Support of Opposition to Motion to Dismiss was filed

electronically and served on counsel of record via the Court’s CM/ECF Filing

System.



                                                                  /s/ Terry M. Henry
                                                                      Terry M. Henry
